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11
                                   IN THE UNITED STATES DISTRICT COURT
12
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                                                 (Fresno Division)
14

15   UNITED STATES OF AMERICA,                                )      CR-06-000247-AWI
                                                              )
16                                         Plaintiff,         )      ORDER CONTINUING
                                                              )      SENTENCING
17             v.                                             )
                                                              )
18   GUADALUPE AGUILAR BARRON                                 )
                                                              )
19                                      Defendant.            )
                                                              )
20                                                            )
21         GOOD CAUSE APPEARING,
22         IT IS ORDERED that the sentencing hearing in the above-entitled case presently set for
23   February 22, 2010 is hereby continued to March 15, 2010 at 11:00 a.m. in Courtroom 2, so that a
24   Safety Valve debriefing of the defendant pursuant to U.S.S.G. Section 5C1.1 can be scheduled.
25   IT IS SO ORDERED.

26   Dated:    February 16, 2010                          /s/ Anthony W. Ishii
     0m8i78                                      CHIEF UNITED STATES DISTRICT JUDGE




     Order Continuing Sentencing                        -1-
